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                                UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF KANSAS

NO SPILL INC.,                                        )
                                                      )
                           Plaintiff,                 )
                                                      )
v.                                                    )      Case No. 18-cv-2681-JAR-KGG
                                                      )
SCEPTER CORPORATION, n/k/a                            )
1216037 ONTARIO, INC.,                                )
SCEPTER CANADA, INC., and                             )
SCEPTER MANUFACTURING LLC,                            )
                                                      )
                           Defendants.                )

     PLAINTIFF’S MEMORANDUM IN SUPPORT OF ITS UNOPPOSED MOTION FOR
                LEAVE TO FILE A SECOND AMENDED COMPLAINT

         Plaintiff No Spill Inc. (“No Spill”) seeks leave of Court to file its Second Amended

Complaint based upon additional information it has obtained. The Second Amended Complaint

is attached as Exhibit A to the motion filed concurrently with this memorandum in support.

         Defendants have been provided with the proposed Second Amended Complaint and do

not oppose leave being granted to file the Second Amended Complaint. Defendants’ non-

opposition to this motion does not constitute a waiver of any defense or counterclaims that any

party may wish to raise concerning the Second Amended Complaint.

          For the avoidance of doubt, the Second Amended Complaint will supersede the

Amended Complaint (ECF # 21) making the Amended Complaint moot. Scepter Manufacturing,

LLC’s Motion to Dismiss the Amended Complaint (ECF # 26) will also be moot and Defendants

Scepter Canada Inc. and 1216037 Ontario, Inc. will not be required file a response to the

Amended Complaint.

         Grant of leave to file the Second Amended Complaint is appropriate because this case is

in its procedural infancy and the amendment updates the pleadings to permit all parties to focus



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on and frame responsive pleadings. Defendants Scepter Canada and 1216037 Ontario, Inc. have

not yet entered appearances or filed a responsive pleading. The parties have not yet exchanged

Rule 26 disclosures nor had a Scheduling Conference. Amendment thus will not prejudice any

party.

I.       Procedural History

         On December 11, 2018, No Spill filed its original Complaint, naming as defendants

Scepter Manufacturing and Scepter Corporation. ECF # 1. On March 28, 2019, defendants

Scepter Manufacturing and Scepter Corporation filed a motion to dismiss. ECF ## 11, 15. In that

motion to dismiss, Scepter Manufacturing and Scepter Corporation argued, among other things,

that Scepter Corporation was improperly named because it no longer exists, and is now known as

1216037 Ontario, Inc. Scepter Canada, Inc. (“Scepter Canada”) is another entity in defendants’

corporate structure.

         Accordingly, on April 17, 2019, No Spill filed its First Amended Complaint and inter

alia added Scepter Canada as a defendant. ECF # 21. On May 1, 2019, Scepter Manufacturing

filed its motion to dismiss the First Amended Complaint raising additional procedural and

substantive issues. ECF # 26.

         As a result of these pleadings, counsel discussed the defendants’ corporate structure and

agreed to participate in an informal exchange of information regarding the parties to the suit in

an effort to narrow the issues. Scepter Corporation and Scepter Manufacturing consequently

informally provided documents on June 21, 2019. Plaintiff No Spill has reviewed those

documents, and has continued its own factual and legal investigation, and has included that

updated information within its proposed Second Amended Complaint.




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II.      Argument and Authorities for Leave to File Second Amended Complaint

         “A party may amend its pleading . . . with the opposing party’s written consent or the

court’s leave. The court should freely give leave when justice so requires.” Fed. R. Civ. P.

15(a)(2). Defendants’ counsel do not oppose the filing of the proposed Second Amended

Complaint.

         The parties are conferring to propose, if possible, a unified deadline for responses to be

filed to the Second Amended Complaint. If such agreement is reached it will be provided to the

Court for its review and potential approval.

         WHEREFORE, plaintiff No Spill respectfully moves the Court to grant this Motion for

Leave to File a Second Amended Complaint in the form attached to the motion.

                                                 Respectfully submitted,

                                                 STINSON LLP

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                                CERTIFICATE OF SERVICE

     I hereby certify that on the 11th day of July, 2019, I filed the foregoing through Court’s
CM/ECF system, which will send notice of the electronic filing to all counsel of record.

                                            /s/ Douglas R. Dalgleish
                                            Attorney for Plaintiff No Spill Inc.




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